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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number                                              _                   _   Chapteryou are filing under:
                                                                                 El Chapter 7
                                                                                    Chapter 11
                                                                                    Chapter 12
                                                                                    Chapter 13                                     Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
      —
case and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Oo you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to Ulis form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Parti:

                                    About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.    Your full name

      Write the name that is on     MARTIN
      your government-issued        First name                                                        First name
      picture identification (for
      example, your driver's        ANDRES
      license ur passport).                name                                                       Middle name

                               „    ROMERO, Jr.
      >CiCr»iiiiL>£>uor> zo youir   .                            »
      meeting with the trustee.
                                                                    st tut
                                    Last narne and* Suffix <Sr" Jr- 11                                Last name and Suffix (Sr„ Jr., II, III)



 2.   All other names you have
      used in the last 8 years
      Include your married or
      maiden names and any
      assumed, trade names and
      doing business as names.
      Do NOT list the name of
      any separate iegai entity
      such as a corporation,
      partnership, or LLC that is
      not filing this petition.


 3.   Only the last 4 digits of
      your Social Security
      number or federal             xxx-XX-0033
      Individual Taxpayer
      Identification number
      (it in)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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Debtor 1 MARTIN ANDRES ROMERO. Jr.                                                                   Case number (if Known)



                                   About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case);

      Your Employer
      Identification Number
      (EIN), if any.
                                   EIN                                                         EIN



5.    Where you live                                                                           If Debtor 2 lives at a different address:

                                   47750 ADAMS STREET APT 722
                                   La Quinta, CA 92253
                                   Number, Street. City, State & ZIP Code                       Number, Street, City, State & ZIP Code

                                   Riverside
                                   County                                                       County

                                   If your mailing address is different from the one            If Debtor 2’« mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any    in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                      mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code             Number, P.O. Box, Street, City, State & ZIP Code




6.     Why you are choosing        Check one:                                                   Check one:
       this district to file for
       bankruptcy                  13    Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any              have lived in this district longer than in any other
                                         other district.                                               district.
                                         I have another reason.                                        I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




     Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                page 2
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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                       Case number (if know)


Part 2:    Tell the Court About Your Bankruptcy Case
7.    The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
      Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under      Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



8.    How you will pay the fee    ®     1 will pay the entire fee when 1 file my petition. Please check with the clerk's office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                        1 need to pay the fee in installments. If you choose this option, sign and attach the Application for individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                        1 request that my fee be waived (You may request this option only if you are filing tor Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line teat
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


9.     Have you filed for         (3 No.
       bankruptcy within the          Yes.
       last 8 years?
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number


10. Are any bankruptcy             53 No
    cases pending or being         pi Ye,
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
       affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known


11. Do you rent your                  No.      Go to line 12.
    residence?                     (3 Yes.      Has your landlord obtained an eviction judgment against you?
                                                03        No. Go to line 12,
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                          bankruptcy petition.




     Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 3
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Debtor 1    MARTIN ANDRES ROMERO, Jr.                                                                    Case number (it kmm)


           Report About Any Businesses You Own as a Sole Proprietor
12. Are you a sole proprietor
    of any full- or part-time      H No.      Go to Part 4.
    business?
                                     Yes.     Name and location of business
    A sole proprietorship is a
    business you operate as                   Name of business, if any
    an individual, and is not a
    separate legal entity such
    as a corporation,
    partnership, or LLC.
    If you have more than one                  Number, Street, City, State & ZIP Code
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                       Check the appropriate box to describe your business:
                                               O      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               O      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               O      None of the above

13. Are you filing under     if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the        proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and     you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business cash-flow statement and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as    § 1116(1)(B).
    defined by 11 U.S. C. §  KI No.         lam not filing under Chapter 11.
     1182(1)?
     For a definition of small       No.       1 am filing under Chapter 11, but 1 am NOT a small business debtor according to the definition in the Bankruptcy
     business debtor, see 11                   Code.
     U.S.C.§ 101(51D).

                                     Yes.      1 am filing under Chapter 11, 1 am a small business debtor according to the definition in the Bankruptcy Code, and
                                               1 do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, 1 am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and 1
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any         KI No,
    property that poses or is        Yes,
    alleged to pose a threat
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




  Official Form 101                           Voluntary Petition for individuals Filing for Bankruptcy                                                 page 4
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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                           _____                      Case number (itkmwn)

Part 5:   Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                            You must check one:
    you have received a              13 I received a briefing from an approved credit                   Ireceived a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, andIreceived a                 this bankruptcy petition, andI received a certificate of
                                         certificate of completion.                                     completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.              any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                  I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days beforeI                  counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, butIdo not have                this bankruptcy petition, butI do not have a
     so, you are not eligible to         a certificate of completion.                                   certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                   Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and           MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                           any.
     will lose whatever filing fee
     you paid, and your                  I certify that Iasked for credit counseling                    I certify that i asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                      from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                   those services during the 7 days after I made my
                                         days after I made my request, and exigent                      request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                  temporary waiver of the requirement.
                                         of the requirement
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                          To ask for a 30-day temporary waiver of the                    attach a separate sheet explaining what efforts you made
                                          requirement, attach a separate sheet explaining                to obtain the briefing, why you were unable to obtain It
                                          what efforts you made to obtain the briefing, why              before you filed for bankruptcy, and what exigent
                                          you were unable to obtain it before you filed for              circumstances required you to file this case.
                                          bankruptcy, and what exigent circumstances
                                          required you to file this case.                                Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                          Your case may be dismissed if the court is                     filed for bankruptcy.
                                          dissatisfied with your reasons for not receiving a
                                          briefing before you filed for bankruptcy.                      If the court is satisfied with your reasons, you must still
                                          If the court is satisfied with your reasons, you must          receive a briefing within 30 days after you file. You must
                                          still receive a briefing within 30 days after you file.        file a certificate from the approved agency, along with a
                                          You must file a certificate from the approved                  copy of the payment plan you developed, if any. If you do
                                          agency, along with a copy of the payment plan you              not do so, your case may be dismissed.
                                          developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                          may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                          Any extension of the 30-day deadline is granted
                                          only for cause and is limited to a maximum of 15
                                          days.
                                          I am not required to receive a briefing about                  I am not required to receive a briefing about credit
                                          credit counseling because of:                                  counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                I have a mental illness or a mental deficiency                I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability,
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                                 I reasonably tried to do so.                                 do so.

                                                 Active duty.                                                  Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duly in a military
                                                 military combat zone.                                         combat zone.
                                          If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                          briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                          motion for waiver credit counseling with the court.            of credit counseling with the court.




   Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
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Debtor 1    MARTIN ANDRES ROMERO, Jr.                                                                      Case number (j/town;

           Answer These Questions for Reporting Purposes
IS. What kind of debts do       16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8} as "incurred by an
    you have?                             individual primarily for a personal, family, or household purpose."
                                             No. Go to line 16b.
                                          I8I Yes. Goto line 17.
                                16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.
                                             No. Goto line 16c.
                                             Yes. Go to line 17.
                                16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under           No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that       S Yes.    1 am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                     are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
    administrative expenses               13 No
    are paid that funds will
    be available for                      O Yes
    distribution to unsecured
    creditors?

18. How many Creditors do       ® 1-49                                             1,000-5,000                                    25,001-50,000
    you estimate that you          50-99                                           5001-10,000
    owe?                           100-199                                         10,001-25,000                                  More thanl 00,000
                                   200-999

19. How much do you             3 SO - $50,000                                                 -
                                                                                   $1.000,001 $10 million                         $500,000,001 - $1 billion
    estimate your assets to
    be worth?
                                   $50,001 -3100,000
                                               -
                                   $100,001 $500,000
                                                                                                   -350 million
                                                                                                   -
                                                                                   $50,000,001 $100 million
                                                                                                                                                  -
                                                                                                                                  $1,000,000,001 $10 billion
                                                                                                                                  $10,000,000,001 - $50 billion
                                               -
                                   $500,001 $1 million                                                 -
                                                                                   $100,000,001 $500 million                      More than $50 billion

20. How much do you             S$0- $50,000                                       $1,000,001 - $10 million                 O $500,000,001 - $1 billion
    estimate your liabilities     $50,001 -3100,000
                                   $100,001 -$500,000
                                                                                                -350 million
                                                                                   $50,000,001 -$100 million
                                                                                                                                                      -
                                                                                                                                   $1,000,000,001 $10 billion
                                                                                                                                   $10,000,000,001 - $50 billion
    to be?
                                   $500,001 - $1 million                           $100,000,001 - $500 million                     More than $50 billion

           Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                If 1 have chosen to file under Chapter 7, 1 am aware that 1 may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                United States Code.I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of fife 11, United States Code, specified in this petition.
                                I understand making a false statement/Spncealrig property, or obtaining money or property by fraud in connection with a
                                bankruptcy case can result in fines ifolopAo.SOO, dr imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                and3571,                              IH / / / I g.1
                                tsi MARTIN A. ROMERO, Jr. I V / II Ay by
                                MARTIN ANDRES ROMERO,               JrlA
                                                                      v                            Signature of Debtor 2
                                Signature of Debtor 1

                                Executed or,        October 5, 2023                                Executed on
                                                   MM / DD / YYYY                                                   MM / DO / YYYY




  Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   MARTIN ANDRES ROMERO, Jr.                                                                     Case number




For your attorney, if you are   I, the attorney tor thedebtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition jskicoraact./'l
to file this page.
                                /s/ Richard Lemus
                                Signature of    Attorne^r Debtor         /
                                                                                            —     Date          October 5, 2023
                                                                                                              MM / DD / YYYY

                                Richard Lemus
                                Printed nam©
                                                                                 _                                                            _
                                LAW OFFICES OF RICHARD F LEMUS
                                Firm name
                                1501 N Raymond Avenue Suite A
                                Anaheim, CA 92801
                                Number, Street. City, State & ZIP Code

                                                  (714)441-0440                                                  rtemusatty@netzero.com
                                Contact phone

                                183271 CA
                                Bar number & State
                                                                                             Email address
                                                                                                             _




   Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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                             STATEMENT OF RELATED CASES
                          INFORMATION REQUIRED BY LBR 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy. Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
 None                                                                                                                                                  /I    f \
I declare, under penalty of perjury, that the foregoing is true and correct.                                                                  ft
 Executed at LA QUINTA CA                                          , California.                     Zs/ MARTIN A. ROMERO, Jr.               I
                                                                                                     MARTIN ANDRES ROMERO, Jri
 Date:           October 5, 2023                                                                     Signature of Debtor 1



                                                                                                     Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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Fill in this information to identify your case:

Debtor 1                 MARTIN ANDRES ROMERO, Jr.
                         First Name                       Middle Name            Last Name
Debtor 2
(Spouse if. filing)      First Name                       Middle Name            Last Name


United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)            —                                                                                                         O Check if this is an
                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form, if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1;        Summarize Your Assets

                                                                                                                                     Your assets
                                                                                                                                     Value of what you own

1.      Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B                                                                       $                     0.00

        1b. Copy line 62, Total personal property, from Schedule A/B                                                                 S             22,091.00

        1c. Copy line 63, Total of all property on Schedule A/B                                                                      $             22,091.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe;
 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...        S                7,961.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.                               $                    0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                             $            33,729.00


                                                                                                          Your total liabilities $               41,690.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I                                                                  S               3,975.00

 5.      Schedule J: Your Expenses (Official Form 106J)
         Copy your monthly expenses from line 22c of Schedule J.                                                                      §               3,740.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.      Are you filing for bankruptcy under Chapters 7, 11, or 13?
              No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         S  Yes
 7.      What kind of debt do you have?

         El      Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or household
                 purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

             Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
             court with your other schedules.
  Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
                                               -
 Software Copyright {c; 1S96-2023 Best Case, LLC wwvwtieslcase.eom                                                                         Best Case Sankruplcy
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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                      Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.                                                             S     3,975.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule BF:

                                                                                                       Total claim
     From Part 4 on Schedule BF, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                  $                  0.00
     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $                  0.00
     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $                  0.00
     9d. Student loans. (Copy line 6f.)                                                                S              2,131.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                              $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +S                  0.00

     9g. Total. Add lines 9a through 9f.                                                           $                 2,131.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
                                            -
Software Copyrighl (cj 1898-2023 Bess Case, LLC www.basicasexwn                                                                      Besl Caso Bankruptcy
       Case 6:23-bk-14606-SY                            Doc 3 Filed 10/11/23 Entered 10/11/23 11:07:05                                               Desc
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Fill in this information to identify your case and this filing:

Debtor 1                   MARTIN ANDRES ROMERO, Jr.
                           First Name                    Middle Name                     Last Name
Debtor 2
(Spouse, if filing)        First Name                    Middle Name                     Last Name

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once, if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1 : Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.    Do you own or have any legal or equitable interest tn any residence, building, land, or similar property?

           Mo. Go to Part 2.
           Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives, If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
     S Yes
                                                                                                                  Do not deduct secured claims or exemptions. Put
     3.1     Make:     Volkswagen                            Who has an interest in the property? Check one       the amount of any secured claims on Schedule D:
             Medel:    Passat                                El Debtor 1 only                                     Creditors Who Heve Claims Secured by Property.
             Year:     2018                      -              Debtor 2 only                                     Current value of the      Current value of the
             Approximate mileage:             65000          O Debtor 1 and Debtor 2 only                         entire property?          portion you own?
             Other information:                                 At least one of the debtors and another


                                                                Check If this is community property                       $16,000.00                  $16,000.00
                                                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     I3No
           Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   pages you have attached for Part 2. Write that number here                                                                                      $16,000.00

 Part 3: Describe Your Personal and Household items
 Do you own or have any legal or equitable interest in any of the following items?                                                        Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.
 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
      Yes. Describe
 Official Form 106A/B                                                      Schedule A/B: Property                                                              page 1
                                              -
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Debtor 1        MARTIN ANDRES ROMERO, Jr.                                                           Case number (if known)

                                0^^                                                                                                                $150.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
             including cell phones, cameras, media players, games
         No
   13 Yes. Describe
                                 |electronics and misc living room furnishings                                     j                            $1,000.00

                                   Living room electronics, TV, DVD
                                   47750 ADAMS STREET APT 172, La Quinta, CA 92253                                                                 $200.00

                                   Bed room furniture ( 2 bedrooms)
                                   47750 ADAMS STREET APT 172, La Quinta, CA 92253                                                                 $750.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
     No
     Yes. Describe
                                   jewelry

                                   47750 ADAMS STREET APT 172, La Quinta, CA 92253                                                                 $150.00

                                   kitchen furniture and appliances
                                   47750 ADAMS STREET APT 172, La Quinta, CA 92253                                                                 $200.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
   B No
         Yes. Describe
10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      £3 No
         Yes. Describe

11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
         No
      13 Yes. Describe.....
                                  j Debtors wearing apparel                                                        i                             $1,000,00


12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
         No
       53 Yes. Describe
                                  [bedroom furnishings                                                             I                                $750.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
         No
         Yes. Describe

 14.    Any Other personal and household items you did not already list, including any health aids you did not list
       3 No
         Yes.   Give specific information


  15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3. Write that number here                                                                                                     $4,200,00



 Official Form 106A/B                                               Schedule A/B: Property                                                              page 2
                                              -
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     Case 6:23-bk-14606-SY                               Doc 3 Filed 10/11/23 Entered 10/11/23 11:07:05                                         Desc
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Debtor 1       MARTIN ANDRES ROMERO, Jr.                                                                     Case number (if known)

Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                           Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   0 No
     Yes

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
              institutions. If you have multiple accounts with the same institution, list each.
      No
   13 Yes                                                        Institution name:


                                     17.1.    Checking & Savings BANK OF AMERICA                                                                   $1,090.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ®No
       Yes                                   Institution or issuer name;

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
   El No
   OYes. Give specific information about them
                              Name of entity:                                           % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   53 No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
    El Yes. List each account separately.
                                     Type of account:                      Institution name:
                                     401(k)                                Fidelity Investments
                                                                           Fidelity Brokerage Services LLC
                                                                           900 Salem Street, Smithfield, RI 02917                                     $801.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    El No
        Yes                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   El No
   O Yes                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    53 No
    O Yes                       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed In line 1), and rights or powers exercisable for your benefit
   El No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   El No
       Yes. Give specific information about them...
Official Form 106A/B                                     Schedule A/B: Property                                                                          page 3
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Debtor 1      MARTIN ANDRES ROMERO, Jr.                                                              Case number (if known)


27- Licenses, franchises, and ether general Intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   El No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
   El No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   El No
      Yes. Give specific information


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
   El No
       Yes. Give specific information..

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter's insurance
   El No
      Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                           Beneficiary;                               Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
   El No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   El No
      Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   El No
       Yes. Describe each claim

35. Any financial assets you did not already list
   IS No
      Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                             .....                     $1,891.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1,

37. Do you own or have any legal or equitable interest in any business-related property?
   txt No. Co to Part 6.
      Yes. Go to line 38.



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    ® No. Go Io Part 7.
Official Form 106A/B                                                Schedule A/B: Property                                                               page 4
                                              -
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Debtor 1        MARTIN ANDRES ROMERO, Jr,                                                              Case number (if known)
          Yes. Go to line 47.


Part 7;        Describe All Property You Own or Have an Interest In That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
   13 No
      Yes. Give specific information

54. Add the dollar value of all of your entries from Part 7. Write that number here                                                          $0.00

Part 8:       List the Totals of Each Part of this Form

 55. Parti: Total real estate, line?                                                                                               .            $0.00
 56. Part 2: Total vehicles, line 5                                                    $16,000.00
 57. Part 3: Total personal and household items, line 15                                $4,200.00
 58. Part 4: Total financial assets, line 36                                            $1,891,00
 59. Part 5: Total business>related property, line 45                                       $0.00
 60. Part 6: Totai farm- and fishing-related property, line 52                              $0.00
 61. Part 7: Total other property not listed, line 54                          +               $0.00

 62. Totai personal property. Add lines 56 through 61...                               $22,091.00      Copy personal property tiotal      $22,091,00

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                       $22,091.00




 Official Form 106A/B                                                 Schedule A/B: Property                                                       page 5
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Fill in this information to identify your case:

Debtor 1                 MARTIN ANDRES ROMERO, Jr.
                         First Name                      Middle Name                  Last Name
Debtor 2
(Spouse       filing)    Firs! Name                      Middle Name                  Last Name

United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number
(il known)              —                                                                                                               Check if this is an
                                                                                                                                        amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                             —
any applicable statutory limit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
        —
funds may be unlimited tn dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
 Part 1:
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ® You are ciaiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)

             You are claiming federal exemptions.        11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists Site property                   portion you own
                                                             Copy the value from    Check only one box thread) exemption.
                                                             Schedule A/B
       2018 Volkswagen Passat 65000 miles                           $16,000.00      El                         $8,039.00     C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 3.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

       jewelry                                                          $150.00     El                           $150.00     C.C.P. § 703.140(b)(5)
       Line from Schedule A/B: 6.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

       Living room electronics, TV, DVD                                 $200.00                                  $200,00     C.C.P. § 703.140(b)(5)
       47750 ADAMS STREET APT 172, La
       Quinta, CA 92253                                                                   100% of fair market value, up to
                                                                                          any applicable statutory limit
       Line from Schedule A/B: 7.2

       electronics and misc living room                                $1,000.00     El                        $1,000.00     C.C.P. § 703.140(b)(5)
       furnishings
       Line from Schedule A/B: 7.1                                                        100% of fair market value, up to
                                                                                          any applicable statutory limit

       kitchen furniture and appliances                                 $200.00      O                                       C.C.P. § 703.140(D)(5)
       47750 ADAMS STREET APT 172, La                                                El 100% of fair market value, up to
       Quinta, CA 92253
                                                                                          any applicable statutory limit
       Line from Schedule A/B: 8.2




 Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
                                              -
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Debtor 1   MARTIN ANDRES ROMERO, Jr.                                                                   Case number (if known)
   Brief description of the property and line on          Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
   Schedule A/B that lists this property                  portion you own
                                                          Copy the.value from        Check only one box tor each exemption.
                                                          Schedule A/B      '
                                                                            "    '




   Debtors wearing apparel                                                                                                      C.C.P. § 703.140(b)(3)
   Line from Schedule A/B: 11.1
                                                                  $1,000.00
                                                                                     SO   100% of fair market value, up to
                                                                                          any applicable statutory limit

    bedroom furnishings                                             $750.00                                       $750.00       C.C.P. § 703.140(b)(5)
    Line from Schedule A/B: 12.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit
                                                                                     j




    BANK OF AMERICA                                                                                                             C.C.P, §703.140(b)(5)
    Line from Schedule A/B: 17.1
                                                                  $1,090.00
                                                                                     ED                         $1,090-00
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit
                                                                                     i




    Fidelity Investments                                            $801.00          El                           $801.00       C.C.P. § 703.140(b)(5)
    Fidelity Brokerage Services LLC
    900 Salem Street, Smithfield, RI 02917
                                                                                     O 100% of fair market value, up to
    Line from Schedule A/B: 21.1                                                          any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
   ® No
        Yes. Did you acquire the property covered by the exemption within 1.215 days before you filed this case?
               No
        O Yes




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                           page 2 of 2
                                            -
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            Case 6:23-bk-14606-SY                                 Doc 3 Filed 10/11/23 Entered 10/11/23 11:07:05                                                         Desc
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।   Fill in this information to identify your case:                                                                                          I
    Debtor 1                   MARTIN ANDRES ROMERO, Jr.
                               First Name                        Middle Name                       Last Name
    Debtor 2
    (Spouse if. filing)        First Name                         Middle Name                      Last Name


    United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

    Case number
    (ff known)            —                                                                                                                                 Check if this is an
                                                                                                                                                            amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. If more space is
    needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
    known).
     .
    1 Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          El Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                                             Column B                Column C
     2. List ail secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim            Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the          that supports this      portion
                                                                                                                  value of collateral.       claim                   If any
     2.1 | A-L FINANCIAL                                  Describe the property that secures the claim:                 $7,961.00                  $16,000.00                     $0.00
             Creditor’s Name                              2018 Volkswagen Passat 65000
                                                          miles
                                                          As of the date you Hie, the claim is: Check all that
             P.O. BOX 51466                               apply.
             Ontario, CA 91761                               Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                            Disputed
     Who owes the debt? Check one.                        Hature of Uen« Check all that apply.
     83 Debtor 1 only                                     IS An agreementyou made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
          Check if this claim relates to a                   Other (including a right to offset)
           community debt

     Date debt was incurred          03/13/2020                  Last 4 digits of account number         7467


         Add the dollar value of your entries in Column Aon this page. Write that numbar here;                                    $7,961.00
         If this is the last page of your form, add the dollar value totals from all pages.
         Write that number here:                                                                                                  $7,961.00

     Part 2; List Others to Be Notified for a Debt That You Already Listed
                                                                                                                                         .
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1 For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




     Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                          page 1 of 1
                                                      -
     Software CapyrighS (c) 1996-2023 8est Case. LLC www.bestcasa.com                                                                                                  Seat Case Bankruptcy
        Case 6:23-bk-14606-SY                               Doc 3 Filed 10/11/23 Entered 10/11/23 11:07:05                                                         Desc
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| Fill in this information to identify your case:
 Debtor 1                  MARTIN ANDRES ROMERO, Jr.
                           Firsi Name                       Middle Name                     Last Name

 Debtor?
 (Spouse if. filing)       First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)             —                                                                                                                        n Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/8) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule 0: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill It out, number the entries In the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report In a Part, do not file that Part. On the top of any additional pages, write your
name and case number (If known).
 Part 1: List AU of Your PRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims against you?
    B No. Go to Part 2.
        Yes.

 Part 2:         List All of Your NONPRIORITY Unsecured Claims
  3.   Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Ei Yes.
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
    unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already Included in Part 1. If more
    than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                          Total claim

              ACE CASH EXPRESS                                       Last 4 digits of account number        0313                                                        Unknown
              Nonpriority Creditor's Name
              300 E. JOHN CARPENTER FWY,                             When was the debt Incurred?            05/18/2023
              STE 900
              Irving, TX 75062
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              E3 Debtor 1 only                                            Contingent
                  Debtor 2 only                                       (3 Unliquidated
                  Debtor 1 and Debtor 2 only                          f~l Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                  Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
               ® No                                                       Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                 o other. Specify Pay Day Loan




  Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 11

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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                       Case number (if know)

1 4.2 1 AMERICAN EXPRESS                                              Last 4 digits of account number       9343                                            $1,511.00
          Nonpriority Creditor's Name
          PO Box 981537                                               When was the debt incurred?           Jul 19, 2018
          El Paso, TX 79998-1537
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred ths debt? Check one.
          0 Debtor 1 only                                                Contingent
              Debtor 2 only                                           0 Unliquidated
          O Debtor 1 and Debtor 2 only                                   Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
          0 No                                                           Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      0 other, specify Credit card purchases

[43 1 Capital One                                                     Last 4 digits of account number       3629                                               $341.00
          Nonpriority Creditor’s Name
          PO BOX 31293                                                When was the debt incurred?           Mar 22, 2022
          Salt Lake City, UT 84131-0293
          Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
          Who incurred the debt? Check one.
          0 Debtor 1 only                                                Contingent
              Debtor 2 only                                           13 Unliquidated
          O Debtor 1 and Debtor 2 only                                O Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
          0 No                                                           Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                     13 other, specify Credit card purchases

          CAVALRY PORTFOLIO SERVICE                                   Last 4 digits of account number        52                                              $2,710.00
          Nonpriority Creditor’s Name
          500 Summit Lake Dr                                          When was the debt incurred?            Nov 22, 2019
          Valhalla, NY 10595-1340
          Number Street City State Zip Code                            As of the date you file, the claim is: Check ail that apply
          Who incurred the debt? Check one.
          0 Debtor 1 only                                                 Contingent
              Debtor 2 only                                            0 Unliquidated
          O Debtor 1 and Debtor 2 only                                    Disputed
              At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                      Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          is the claim subject to offset?                              report as priority claims
          0 No                                                            Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                      0 other. Specify COLLECTION ACCOUNT


1 4.5 1    CITY OF INDIO
           Nonpriority Creditor’s Name
                                                                       Last 4 digits of account number       5164                                            $1,200.00

           100 CIVIC CENTER MALL                                       When was the debt incurred?           08/26/2019
           Indio, CA 92201
           Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
           El Debtor 1 only                                               Contingent
           O Debtor 2 only                                             E3 Unliquidated
               Debtor 1 and Debtor 2 only                                 Disputed
               At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                     Student loans
           debt                                                           Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                             report as priority claims
               No                                                         Debts to pension or profit-sharing plans, and other simiiar debts
           O Yes                                                       0 Other. Specify M1SC CITY CHARGES/FEES

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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                      Case number {if known)


4.6      First Premier Bank                                          Last 4 dinits of account number       5981                                               $974.00
         Nonpriority Creditor’s Name
         3820 N Louise Ave                                           When was the debt incurred?           2021
         Sioux Falls, SD 57107-0145
         Number Street City State Zip Code                           As of the date you file, the ciaim is: Check all that apply
         Who incurred the debt? Check one.
         8 Debtor "I only                                               Contingent
         O Debtor 2 only                                             El Unliquidated
         O Debtor 1 and Debtor 2 only                                   Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:
           Check if this claim is for a community                       Student loans
         debt                                                           Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                             report as priority claims
         El No                                                          Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                     (3 other, specify Credit card purchases


I 4.7 | FLURISHCreditor’s
                INC
          Nonpriority     Name
                                                                     Last 4 diaits of account number       5172                                             Unknown

          FLURISH, INC.                                              When was the debt incurred?           Jan 11, 2019
          225 BUSH STREET
          San Francisco, CA 94104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          I3 Debtor 1 only                                              Contingent
              Debtor 2 only                                          S3 Unliquidated
          O Debtor 1 and Debtor 2 only                                   Disputed
          O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
              Check if this claim Is for a community                 K Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
          g| No                                                         Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify
                                                                                          Credit card purchases

RT Genesis/FEB-Retail
           Creditor's
          Nonpriority            Name
                                                                     Last 4 digits of account number        7511                                            $1,600.00

          PC BOX 4499                                                 When was the debt incurred?           UNK
          Beaverton, OR 97076-4499
          Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
          Who incurred the debt? Check one.
          13 Debtor 1 only                                               Contingent
             Debtor 2 only                                           KI Unliquidated
             Debtor 1 and Debtor 2 only                                  Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim;
             Check if this claim is for a community                   O Student loans
          debt                                                        D Obligations arising out of a separation agreement or divorce, that you did not
          Is the claim subject to offset?                             report as priority claims
          S No                                                           Debts to pension or profit-sharing p!ans: and other similar debts
              Yes                                                     ® other, specify Credit card purchases




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Debtor 1 MARTIN ANDRES ROMERO, Jr,                                                                    Case number (if known)

4.9 |    GM FNANCIAL                                               Last 4 digits of account number       0186                                                     Unknown
         Nonpdohty Creditor’s Name
         PO BOX 181145                                             When was the debt incurred?           Jul 25, 2012
         Arlington, TX 76096
         Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
         El Debtor 1 only                                             Contingent
             Debtor 2 only                                         £3 Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
         O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
             Check If this claim is for a community                   Student loans
         debt                                                         Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                           report as priority claims
          £3 No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                    (3 other, specify    Credit card purchases

4.1
0        JEFFERSON CAPITAL SYSTEMS                                 Last 4 digits of account number       4082                                                       $452.00
         Nonpriority Creditor's Name
         16 MCLELAND RD                                            When was the debt incurred?            Feb 15, 2023
         ST CLOUD, MN 563032
         Number Street City State Zip Cade                         As of the date you file, the claim is: Check all mat apply
         Who incurred the debt? Check one.
         g| Debtor 1 only                                             Contingent
             Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                            O Disputed
             At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
             Check If this claim Is for a community                   Student loans
         deb*                                                         Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                           report as priority claims
          £3 No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                        Other. Specify   COLLECTION ACCOUNT

4.1
J        LVNV FINDING LLC                                          Last 4 digits of account number        7679                                        __          $1,695.00
         Nonpriority Creditor’s Name
         55 BEATTIE PLACE                                          When was me debt incurred?             Feb 18, 2020
         ,SC 29601                                                                                                                                         .
         Greenville, SC 29601
         Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Cheek one.
          El Debtor 1 only                                            Contingent
             Debtor 2 only                                         |3 Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
             Check if this claim is for a community                   Student loans
         debt                                                         Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                           report as priority claims
         El No                                                        Debis to pension or profit-sharing plans, and other similar debts
             Yes                                                    El Other, specify Credit card purchases




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4.1
2       LVNV FUNDING LLC                                            Last 4 digits of account number       8952                                           $3,506.00
        Nonpriority Creditor's Name
        55 BEATTIE PLACE                                            When was the debt incurred?           Nov 12, 2019
        Greenville, SC 29601
        Number Street City State Zip Code                           As of the date you file, the claim is: Chac« all that apply
        Who Incurred the debt? Check one.
         ® Debtor 1 only                                               Contingent
            Debtor 2 only                                           El Unliquidated
            Debtor 1 and Debtor 2 only                                 Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
            Check if this claim is tor a community                     Student loans
         debt                                                       Q obligations arising out of a separation agreement or divorce that you did not
         is the claim subject to offset?                            report as priority claims
         E! No                                                         Debts to pension or profit-sharing plans, and other similar debts
            yes                                                     ® other. Specify Credit card purchases

4.1
J        LVNV FUNDING, LLC                                          Last 4 digits of account number       5918                                            ?1,813,00
         Nonpriority Creditor’s Name
         PO Box 10497                                               When was the debt incurred?           UNK
         Greenville, SC 29603-0497
         Number Street City State Zip Code                          As of the date you fife, the claim is: Check all that apply
         Who incurred the debt? Check one.
         El Debtor 1 only                                              Contingent
             Debtor 2 only                                          El Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
             Check if this claim Is tor a community                    Student loans
         dsbt                                                          Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                            report as priority claims
         EJ No                                                         Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    El other. Specify Credit card purchases

4.1
_4       Merrick Bank Corp                                          Last 4 digits of account number        3508                                             $801.00
         Nonprioriiy Creditor's Name
         10705 S Jordan Gtwy Sts 200                                When was the debt incurred?            UNK
         South Jordan, UT 84095-3977
         Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
         El Debtor 1 only                                               Contingent
             Debtor 2 only                                           El Unliquidated
         l~l Debtor 1 and Debtor 2 only                                 Disputed
         O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
         O Check if this claim is for a community                   O Student loans
         debt                                                       Q Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                            report as priority claims
         E) No                                                         Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                     B other. Specify Credit card purchases




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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                      Case number (r known)

4.1
5       Midland Credit Management Inc                                Last 4 digits of account number       5921                                             Unknown
        Nonpriority Creditor’s Name
         350 Camino de la Reina Ste 100                              When was the debt incurred?                 27, 2020
         San Diego, CA 92108-3003
         Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
         Who Incurred the debt? Check one.
         0 Debtor 1 only                                                Contingent
             Debtor 2 only                                           K Unliquidated
             Debtor 1 and Debtor 2 only                              O Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
         O Check if this claim is for a community                       Student loans
         debt                                                           Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                             report as priority claims
         18 No                                                          Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      S other, specify Credit card purchases


6        Midland Credit Management Inc                               Last 4 digits of account number       3667                                             $3,416.00
         Noapriority Creditor's Name
         350 Camino de la Reina Ste 100                              When was the debt incurred?           Jan 17, 2020
         San Diego, CA 92108-3003
         Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
         El Debtor i only                                               Contingent
             Debtor 2 only                                           IS Unliquidated
         O Debtor 1 and Debtor 2 only                                   Disputed
         Q At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:
         O Check jf this claim is for a community                       Student loans
         debt                                                           Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                             report as priority claims
         l&No                                                           Debts to pension or proffl-sharing plans, and other similar debts
         O Yes                                                       S Other. Specify COLLECTION ACCOUNT


7        MOHELA/DEPT OF ED                                           Last 4 digits of account number        0002                                               $381.00
         Nonpriorfty Creditor’s Name
         MOHELA/DEPT OF ED                                            When was the debt incurred?                06, 2023

         Chesterfield, MO 63005
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred Ute debt? Check one.
          £3 Debtor 1 only                                               Contingent
             Debtor 2 only                                            El Unliquidated
             Debtor 1 and Debtor 2 only                               O Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
             Check if this claim is for a community                   IS Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
          El No                                                          Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                         Other. Specify
                                                                                           STUDENT LOAN




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4.1
J       MOHELA/DEPT OF ED                                            Last 4 digits of account number       0001                                           $1,750.00
        Nonpriority Creditor's Name
        MOHELA/DEPT OF ED                                            When was the debt incurred?           Jun 06, 2023
        633 SPIRIT DRIVE

        Chesterfield, MO 63005
        Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
        8 Debtor 1 only                                                 Contingent
            Debtor 2 only                                               Unliquidated
        O Debtor 1 and Debtor 2 only                                    Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
            Check if this claim is for a community                   8 Student loans
        dstrt                                                        n Obligations arising out of a separation agreement or divorce that you did not
        Is the claim subject to offset?                              report as priority claims
        8 No                                                            Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                         Other. Specify
                                                                                          STUDENT LOAN
4.1
J        Net Pay Advance Inc.                                        Last 4 digits of account number        unk                                              $350.00
         Nonpriority Creditor's Name
         6820 West Centre!                                           When was the debt incurred?           Unk
         Wichita. KS 67212
         Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
         El Debtor 1 only                                            O Contingent
         O Debtor 2 only                                             8 Unliquidated
             Debtor 1 and Debtor 2 only                                 Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
         O Check if this claim is for a community                    O Student loans
         debt                                                        Q obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                             report as priority claims
         8 No                                                           Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                     8 other. Specify Pay Day Loan

 4.2
J        Oliphant USA, LLC                                           Last 4 digits of account number        unk                                            $6,295.00
         Nonpriority Creditor's Name
         1800 2nd St. Suite 603                                       When was the debt incurred?           08/23/2019
         Sarasota, FL 34236
         Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                               Contingent
             Debtor 2 only                                            SI Unliquidated
              Debtor 1 and Debtor 2 only                              O Disputed
              At least one of the debtors and another                 Type of NONPRtORITY unsecured claim:
              Check if this claim is for a community                     Student loans
          debt                                                        Q Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
          EJ No                                                          Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      S other, specify Credit card purchases




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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                    Case number (« known)

4.2
J       PORTFOLIO RECOVERY                                         Last 4 digits of account number       4317                                           $1.232.00
        Ncnpriority Creditor's Name
        120 Corporate Blvd Ste 100                                 When was the debt incurred?           Mar 19» 2020
        Norfolk, VA 23502-4952
        Number Street City State Zip Code                          As of the date you file, the cialm is: Check all that apply
        Who incurred the debt? Check one.
        IB Debtor 1 only                                              Contingent
           Debtor 2 only                                           3 Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
            Check if this claim is for a community                    Student loans
        deb*                                                          Obligations arising out of a separation agreement or divorce that you did not
        Is the claim subject to offset?                            report as priority claims
        El No                                                         Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                    [3 Other. Specify   COLLECTION ACCOUNT


4.2      PORTFOLIO RECOVERY
J        ASSOCIATES                                                Last 4 digits of account number       6039                                              $717,00
         Ncnpriority Creditor’s Name
         120 CORPORATE BLVD, STE 100                               When was the debt incurred?           Feb 16, 2022
         Norfolk, VA 23502
         Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
         El Debtor 1 only                                             Contingent
         O Debtor 2 only                                           El Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
            Check if this claim Is for a community                    Student loans
         tteW                                                         Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                           report as priority claims
         B No                                                         Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                    IB Other. Specify COLLECTION ACCOUNT

         PORTFOLIO RECOVERY
4.2
J        ASSOCIATES                                                Last 4 digits of account number        4673         ___                               $1,504.00
         Nonpriority Creditor's Name
         120 CORPORATE BLVD, STE 100                               When was the debt incurred?            Jan 15, 2021
         Norfolk, VA 23502
         Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one,
         El Debtor 1 only                                              Contingent
            Debtor 2 only                                          El Unliquidated
            Debtor 1 and Debtor 2 only                                 Disputed
            At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
         O Check if this claim is for a community                     Student loans
         debt                                                         Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                           report as priority claims
         El No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    El Other. Specify COLLECTION ACCOUNT




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4.2     PORTFOLIO RECOVERY
4       ASSOCIATES                                                Last 4 dinits of account number       7177                                                $399.00
        Nonpriority Creditor's Name
        120 CORPORATE BLVD, STE 100                               When was the debt Incurred?           Dec 19, 2020
        Norfolk. VA 23502
        Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
        8 Debtor 1 only                                              Contingent
          Debtor 2 only                                           0 Unliquidated
          Debtor 1 and Debtor 2 only                                Disputed
          At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
          Check if this claim Is for a community                     Student loans
        debt                                                         Obligations arising out of a separation agreement or divorce that you did not
        Is the claim subject to offset?                           report as priority claims
        8 No                                                         Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   8 Other, specify COLLECTION ACCOUNT


5        Speedy Cash                                              Last 4 digits of account number        7624                                               $315.00
         Nonpriority Creditor's Name
         PO BOX 535                                               When was the debt incurred?            2023
         Dublin, OH 43017
         Number Street City State Zip Cade                        As of the date you file, the claim is: Check all Iha: apply
         Who incurred the debt? Check one.
         El Debtor 1 only                                            Contingent
         D Debtor 2 only                                          8 Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
         O Check If this claim is for a community                    Student loans
         debt                                                        Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                          report as priority claims
         El No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   8 other. Specify payday loan


6        SPEEDY CASH                                              Last 4 digits of account number        5107                                                $315.00
         Nonpriarity Creditors Name
         PO BOX 101928 DEPT 2280                                  When was ths debt incurred?            06/05/2023
         Birmingham, AL 35210
         Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
         [>3 Debtor 1 oniy                                            Contingent
         O Debtor 2 only                                          8 Unliquidated
             Debtor 1 and Debtor 2 only                           O Disputed
             At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
             Check if this claim is for a community                   Student loans
         debt                                                         Obligations arising out of a separation, agreement or divorce that you did not
         Is the claim subject to offset?                           report as priority claims
         ^3 No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                   ® other. Specify Pay Day Loan




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4.2
7         TBOM/ASPIRE                                                  Last 4 digits of account number       3634                                                      $452.00
          Nonpriority Creditor’s Name
          PO BOX 105555 SW 1340                                        When was the debt incurred?           May 17,2021
          Atlanta, GA 30348
          Number Street City State Zip Code                            As of the date you file, the claim Is: Check ail that apply
          Who Incurred the debt? Check one.
          S3 Debtor 1 only                                                Contingent
              Debtor 2 only                                            £3 Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
              Check if this claim te for a community                      Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject io offset?                              report as priority claims
          IS No                                                           Debts to pension or profit-sharing plans, and other similar debts
          O Yes                                                        83 other, specify Credit card purchases

4.2
8         VW CREDIT INC                                                Last 4 digits of account number       6807                                                     Unknown
          Nonpriority Creditor's Name
          2333 WAUKEEGAN RD                                            When was the debt incurred?           Mar 24, 2014
          .IL 60015
          Deerfield, IL 60015
          Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          SI Debtor 1 only                                             O Contingent
          Q Debtor 2 only                                              IS Unliquidated
          O Debtor 1 and Debtor 2 only                                 Q Disputed
          O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                   Q Student loans
          debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                              report as priority claims
           SI No                                                          Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                       83 Other. Specify AUTO LOAN

Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, tor a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank NA                                                         4,4 of (Chec/r one):                £3 Part 1•* Creditors with Priority Unsecured Claims
PO Box 12914                                                                                            0 Part 2: Creditors with Nonpriority Unsecured Claims
Norfolk, VA 23541-0914
                                                                Last 4 digits of account number                   52
Name and Address                                                On which entry in Part 1 or Part 2 did you list the original creditor?
 CUSTOMER RELATIONS SPEEDY                                      Line 4.26 of (Check one):                   Part ’ Creditors with Priority Unsecured Claims
                                                                                                        gg Pan 2: Creditors with Nonpriority Unsecured Claims
 CASH
 PO BOX 782250
 Wichita, KS 67278
                                                                Last 4 digits of account number                   5107

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
    NELSON & KENNARD                                            Line 4.4 of (Check one):                    Part 1 • Creditors with Priority Unsecured Claims
                                                                                                         S3 Part 2: Creditors with Nonpriority Unsecured Claims
    5011 Dudley Blvd, BLDG 250, Bay G
    McClellan, CA 95652
                                                                Last 4 digits of account number                    0547

    Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
    RESURGENT ACQUISITIONS LLC                                  Line 4 8 of (Check one)'•               O Part 1: Creditors with Priority Unsecured Claims
                                                                                                        S3 Part 2: Creditors with Nonpriority Unsecured Claims
    PO BOX 4477
    Beaverton, OR 97076
                                                                Last 4 digits of account number                    7511


                                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 10 of 11
Official Form 106 E/F
                                                                                                                                                                  9&s( Case Bankruptcy
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Debtor 1 MARTIN ANDRES ROMERO, Jr,                                                                    Case number (it known)
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Riverside County Superior Court                              Line 4.4 of (Check one}:                D Part 1: Creditors with Priority Unsecured Claims
3255 E Tahquitz Canyon Way                                                                           ® Part 2: Creditors with Nonpriority Unsecured Claims
Palm Springs, CA 92262-6958
                                                             last 4 digits of account number                    0547
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
VALENTINE & KEBARTAS. LLC                                    Une 4,11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO BOX 325                                                                                           S3 Part 2: Creditors with Nonpriority Unsecured Claims
Lawrence, MA 01842
                                                             Last 4 digits of account number                    7679
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
VALENTINE & KEBARTAS, LLC                                    Line 4,12 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
PO BOX 325                                                                                           8 Part 2: Creditors with Nonpriority Unsecured Claims
LAWRENCE, MA 01842
                                                             Last 4 digits of account number                    8952
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
VALENTINE & KEBARTAS, LLC                                    Line 4.13 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
PO BOX 325                                                                                            £3 Part 2; Creditors with Nonpriority Unsecured Claims
LAWRENCE, MA 01842
                                                             Last 4 digits of account number                    5918
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
WEBBANK                                                      Line 4.20 of {Check one}:                   Part 1; Creditors with Priority Unsecured Claims
215 S. State St. Suite 1000                                                                          S3 Part 2: Creditors with Nonpriority Unsecured Claims

Salt Lake City, UT84111
                                                              Last 4 digits of account number                   unk

Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
  type of unsecured claim.
                                                                                                                             Total Claim
                      6a.   Domestic support obligations                                                 6a.           s                       0.00
Total claims
from Part 1           6b.   Taxes and certain other debts you owe the government                         6b.           s                       0.00
                      6c.   Claims for death or personal injury while you were Intoxicated               6c.           $                       0.00
                      6d.   Other. Add all other priority unsecured ciaims. Write that amount here.      6d.           $                       0.00

                      6e.   Total Priority. Add lines 6a through 6d.                                      6e.          $                       0.00

                                                                                                                             Total Claim
                      6f.   Student loans                                                                 6f.          $                  2,131.00
 Total claims
 from Part 2          69-   Obligations arising out of a separation agreement or divorce that
                            you did not report as priority claims                                         6g.          s                       0.00
                      6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.          s                       0.00
                      6i.   Other. Add ali other nonpriority unsecured claims. Write that amount          6f.
                            here.                                                                                      $                31,598.00

                      6j.    Total Nonpriority. Add lines 6f through 6i.                                  6j.          $                33,729,00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 11 of 11
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               Case 6:23-bk-14606-SY                                  Doc 3 Filed 10/11/23 Entered 10/11/23 11:07:05                                      Desc
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i   Fill in this information to identify your case:                                                                                I
    Debtor 1                      MARTIN ANDRES ROMERO, Jr.
                                   First Name                         Middle Name              last Name

    Debtor 2
    (Spouse if, filing)            rirslName                          Middle Name              Last Name


    United States Bankruptcy Court for the:                   CENTRAL DISTRICT OF CALIFORNIA

    Case number
    (if known}                                                                                                                               Check if this is an
                                                                                                                                             amended filing


    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
                                                                                                      You have nothing else to report on this form.
            El No. Check this box and file this form with the court with your other schedules.
                 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


               Person or company with whom you have the contract or lease                          State what the contract or lease is for
                                   Name, Number, Street, City, State and ZIP Code
        2.1
                Name


                 Number       Street
                                                                                               ~
                 City                                        State                  ZIP Code
         2.2
                 Name


                 Number           Street

                 City                                        State                  ZIP Code
                              '

         2.3
                 Name


                 Number           Street
                                                                                               ~
                 City                                        State                  ZIP Code
         2.4
                 Name


                 Number           Street

                 City                                        State                  ZIP Code
         2.5
                 Name


                 Number           Street

                                                              State                 ZIP Code
                                                                                                 ~
                 City                                                                                                      ,




                                                             Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
     Official Form 106G
                                                                                                                                                         Best Case Bankruptcy
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Fill in this information to identify your case:

Debtor 1                     MARTIN ANDRES ROMERO, Jr.
                             Firs! Name                          Middle Name            Last Name

Debtor 2                                                                                             .

(Spouse it, filing)          First Name                          Middle Name            Last Name


United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

Case number
(it known)                                                                                                                        Q Check if this is an
                                                                                                                                      amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      [3 No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
       ® Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 ® No
                      Yes.

                        In which community state or territory did you live?             -NONE-       •   Fill in the name and current address of that person.

                        Nams of your spouse, former spouse, or legal equivalent
                        Number, Street. City. State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 1060), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name. Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   |'3.1 |                                                                          ,                      Schedule D, line
                 Name                                                                                      Schedule E/F, line
                                                                                                         Q Schedule G, line
                 Number              Street
                 City                                      Stale                         ZIP Code



   1 3.2]                                                                                                O Schedule D, line      ______
                 Name                                                                                       Schedule E/F, line
                                                                                                            Schedule G, line
                 Number              Street
                                                           State                          ZIP Code




 Official Form 106H                                                               Schedule H: Your Codebtors                                         Page 1 of 1
                                                    -
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Fill in this information fob              case:

Debtor 1                      MARTIN ANDRES ROMERO, Jr.
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number                                                                                                 Check if this is:
(If known)                                                                                                     An amended filing
                                                                                                               A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

Official Form 1061                                                                                                MM/DD/YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse.If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.
                      Describe Employment
1.      Fill in your employment
        information.                                                Debtor 1                                           Debtor 2 or non-filing spouse
        If you have more than one job,       Employment status      12 Employed                                           Employed
        attach a separate page with
        information about additional                                   Not employed                                       Not employed
        employers.
                                             Occupation
        include part-time, seasonal, or
                                                                    night auditor
        self-employed work.
                                             Employer's name        Pyramid LQR LP
        Occupation may include student
        or homemaker, if it applies.         Employer's address
                                                                    30 Rowes Wharf Suite 530
                                                                    Boston, MA 02110

                                             How long employed there?          15 yrs

 Part 2:              Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space, include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.
                                                                                                       For Debtor 1              For Debtor 2 or
                                                                                                       •'    \     :             non-filing spouse

         List monthly gross wages, salary, and commissions (before ail payroll
 2.      deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $   _          5,213,00        $             N/A

 3.      Estimate and list monthly overtime pay.                                             3.   +$_                    0.00     ♦$            N/A

 4.      Calculate gross Income. Add line 2 + line 3.                                        4.    $_            5,213,00             $       N/A




 Official Form 1061                                                      Schedule i: Your Income                                                       page 1
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Debtor 1     MARTIN ANDRES ROMERO, Jr.                                                                 Case number (<r (mown)


                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                nqftffltoa spouse
      Copy line 4 here                                                                      4.                    5,213,00      $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                  5a.         $           608.00      $                  N/A
      5b.    Mandatory contributions for retirement plans                                   5b.         $           390.00      $                  N/A
      5c.    Voluntary contributions for retirement plans                                   5c.         $              0.00     $                  N/A
      5d.     Required repayments of retirement fund loans                                  5d.         $_            0.00      $                  N/A
      5e.     Insurance                                                                     5e.         S           240.00      $                  N/A
      5f.     Domestic support obligations                                                  5f.         $             0.00      $                  N/A
      5g.     Union dues                                                                    5c          $             0.00      $                  N/A
      5h.     Other deductions. Specify:                                                     5h.+       5_             0.00     $                  N/A
6.     Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.         $         1,238.00      5                  N/A
7.     Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.         S_        3,975.00      $                  N/A
8.     List all other income regularly received:
       8a. Net income from rental property and from operating a business,
              profession, or farm
              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
              monthly net income.                                                            8«L         $              0.00    $    -
                                                                                                                                                   N/A
       8b. Interest and dividends                                                            8b.        S               0.00    $                  N/A
       0c. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                           8c.         $              0.00    $                  N/A
       8d. Unemployment compensation                                                         8d.         S              0.00    $                  N/A
       8e. Social Security                                                                   8e.         $              0.00    $                  N/A
       8f.    Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                       8f.   $                    0.00   S                   N/A
       8g.    Pension or retirement income                                                    8g. $                     0.00   S                   N/A
       8h.    Other monthly income. Specify:                                                _ 8h.+ 5.                   0.00 + $                   N/A

9.     Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.        $                0.00
                                                                                                                           M
                                                                                                                                s
                                                                                                                                L
                                                                                                                                           _           N/A

10. Calculate monthly income. Add line 7 + line 9.                                       10.       s         3,975.00 4 $                N/A       S         3,975.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11   . State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                  11. +$                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                             12.   S             3,975.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       El      No.                                                                   ,                                 .
                                                                                                                                                                        I
                                                               '


               Yes. Explain:   j




Official Form 1061                                                      Schedule I: Your Income                                                               page 2
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Fill in this information tb/fe

Debtor 1              MARTIN ANDRES ROMERO, Jr.                                                          Check if this is:
                                                                                                         O     An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter 1 3
(Spouse, if filing)                                                                                            expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                       MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:     Describe Your Household
1.   Is this a joint case?
     El No. Go to line 2.
     Q Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             SNo
      Do not list Debtor 1 and             Ves,   phi Out fojs information for   Dependent’s relationship to       Dependents        Does dependent
      Debtor 2.                                   each dependent           ...
      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.     Do your expenses include                 E3 No
       expenses of people other than              Yes
       yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses                                .
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter *13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your income
(Official Form 1061.)

4.     The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                                       4. $                          1,000.00

       If not included in line 4:

       4a. Real estate taxes                                                                             4a. $                                 0.00
       4b. Property, homeowner's, or renter's insurance                                                  4b. $                              25.00
       4c. Home maintenance, repair, and upkeep expenses                                                 4c, §                                 0.00
       4d. Homeowner's association or condominium dues                                                   4d. $                                 0.00
 5.    Additional mortgage payments for your residence, such as home equity loans                         5. $                                 0.00

 6.    Utilities:
       6a.     Electricity, heat, natural gas                                                            6a. $                            250.00
       6b.     Water, sewer, garbage collection                                                          6b. $                             65.00
       6c.
       6d.     Other. Specify:                              _
               Teleohone, cell phone, Internet, satellite, and cable services                            6c. $
                                                                                                         6d. $   _____                    100.00
                                                                                                                                            0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                         page 1
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Debtor 1    MARTIN ANDRES ROMERO, Jr.                                                                Case number (if known)

7.  Food and housekeeping supplies                                                                          7. $                                 600.00
8. Childcare and children's education costs                                                                 8. $                                   0.00
9. Clothing, laundry, and dry cleaning                                                                      9. $                                 200.00
10. Personal care products and services                                                                    10. $                                  75.00
11. Medical and dental expenses                                                                            11. $                                   0.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                           12. $                                 450.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                 425.00
14. Charitable contributions and religious donations                                                       14. $                                   0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
    15a. Life insurance                                                                                   15a,   S                                  0.00
    15b. Health insurance                                                                                 15b. $                                    0.00
    15c. Vehicle insurance                                                                                15c. $                                 150.00
    15d. Other insurance. Specify:                                                                        15d. $                                   0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                              16. $                                   0.00
17. Installment or lease payments:
    17a. Car payments for Vehicle 1                                                                       17a. $                                 400.00
    17b. Car payments for Vehicle 2                                                                       17b. $                                   0.00
    T7c. Other. Specify:                                                                                  17c. $                                   0.00
    17d. Other. Specify:                                                                                  17d. $                                   0.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your income (Official Form 1061).                         18. $                                   0.00
19. Other payments you make to support others who do not live with you.                                          $                                  0.00
    Specify:                                                                               19.
20. Other real property expenses not Included in lines 4 or 5 of this form or on Schedule 1: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                     0.00
    20b. Real estate taxes                                                               20b. $                                                     0.00
    20c. Property, homeowner’s, or renter's insurance                                    20c. $                                                     0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21. Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21     .                                                                                $                      3,740.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      3,740.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. s                              3,975.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             3,740.00

       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net Income.                                                         23c. $                                235.00

 24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within ihe year or do you expect your mortgage payment io increase or decrease because of a
     modification to the terms of your mortgage?
       0 No.
           Yes.          I Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                    page 2
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Fill in this information to identify your case:

Debtor 1                   MARTIN ANDRES ROMERO, Jr.
                           First Name                   Middle Name              Last Name
Debtor 2
(Spouse if. filing)        First Name                   Middle Name              Last Name


United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                      f~1 Check if this is an
                                                                                                                                    amended filing



Official Form 106Dec
Declaration About an Individual Debtors Schedules                                                                                                         12m

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


        Oid you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        EJ     No
               Yes. Name of person                                                                            Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                              Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare tha( I fiaye rea^ the^ummary and schedules filed with this declaration and
       that they are true and correct.

        X /Sl MARTIN A. ROMERO, Jr.                                               X
              MARTIN ANDRES ROMERO, JrJ                                               Signature of Debtor 2
              Signature of Debtor 1

              Date        October 5, 2023                                             Date




 Official Form 106Dec                                    Declaration About an Individual Debtor's Schedules
                                             -
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                                                                                                                                               Bss? Case Banxi uplcy
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Fill in this information to identify your case:                                                                              1
Debtor 1                  MARTIN ANDRES ROMERO, Jr.
                          First Name                     Middle Name                   Last Name

Debtor 2
{Spouse if. filing)       First Name                     Middle Name                   Last Name


United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)            —                                                                                                                     Check if this is an
                                                                                                                                            amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:         Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?
              Married
       8      Not married

2.     During the last 3 years, have you lived anywhere other than where you iive now?

       13 No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                             Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                              lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       13     No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
       [3      Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of Income                Gross income                  Sources of income               Gross income
                                                  Check all that apply,            (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until £3 Wages, commissions,                                   $49,340.00            Wages, commissions,
 the date you filed for bankruptcy:   bonuses, tips                                                               bonuses, tips
                                                      Operating a business                                           Operating a business


    For last calendar year:                       13 Wages, commissions,                       $50,566.00            Wages, commissions,
    (January 1 to December 31, 2022 )             bonuses, tips                                                   bonuses, tips
                                                      Operating a business                                           Operating a business




 Official Form 107                                    Statement of Financial Affairs for individuals Filing for Bankruptcy                                         page 1

                                              -
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Debtor 1      MARTIN ANDRES ROMERO, Jr.                                                                    Case number (Onomi;


                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income                Gross Income                  Sources Of income               Gross income
                                                   Check all that apply.            (before deductions and        Check all that apply.           (before deductions
                                                                                    exclusions)                                                   and exclusions)
For the calendar year before that:                 El Wages, commissions,                       §51,561.00           Wages, commissions,
(January 1 to December 31, 2021 )                  bonuses, tips                                                  bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1           .
      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      El No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtors
                                                   Sources of income                Gross income from              Sources of income              Gross income
                                                   Describe below.                  each source                    Describe below.                (before deductions
                                                                                    (before deductions and                                        and exclusions)
                                                                                    exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor I’s or Debtor 2's debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                 individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                          No.     Go to line 7.
                      I—I Yes List below each creditor to whom you paid a total of $7,575’ or more in one or more payments and the total amount you
                                  paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                  not include payments to an attorney for this bankruptcy case.
                      * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
      El    Yes,     Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                      ® Yes        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor’s Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                        paid         still owe
       A-L FINANCIAL                                             monthly auto                   $1,200.00            $7,960.00            Mortgage
       P.O. BOX 51466                                            payments                                                           El Gar
       Ontario, CA 91761                                                                                                                  Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                          Other


 7.   Within 1 year before you filed tor bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners: partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
       including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
       support and alimony.

       53 No
             Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                      paid            still owe

 Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2

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Debtor 1      MARTIN ANDRES ROMERO, Jr.                                                                    Case number (if hmm)



8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

     ®      No
          Yes. List all payments to an insider
      Insider's Name and Address                                Dates of payment             Total amount          Amount you         Reason for this payment
                                                                                                       paid          still owe        include creditor’s name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

            No
      13    Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                           Status of the case
       Case number
       Cavalry SPV 1 LLC as assignee of                         Collection                  SUPERIOR COURT OF                         lx! Pending
       Citibank                                                                             CALIFORNIA PALM                               On appeal
                                              V                                             SPRINGS                                       Concluded
       MARTIN ANDRES ROMERO, Jr.                                                            3255 E. TAHQUITZ CANYON
       24Hr Homecare                                                                        WAY                                       collection suit for credit card
       CVPS2000547                                                                                                                    consumer debt
                                                                                            PALM SPRINGS, CA

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      3   No. Go io line 11.
          Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                          Date                        Value of the
                                                                                                                                                               property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
      I3    No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                         Date action was                 Amount
                                                                                                                               taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
      IS No
      O     Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      13   No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                       Dates you gave                      Value
       per person                                                                                                              the gifts

       Person to Whom You Gave the Gift and
       Address:




 Official Form 10/                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3

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Debtor 1     MARTIN ANDRES ROMERO, Jr.                                                                  Case number (if knom)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    S3 No
        Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                     Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street City. State and ZIP Code)

Parts:       List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

     El No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           10ss                             lost
                                                         insurance claims on line 33 of Schedule A®: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

         No
     13  Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was            payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Law Offices Of Richard F. Lemus                              Attorney Fee $1500                                       08/23/2023               $1,500.00
      1501 N Raymond Avenue Suite A
      Anaheim, CA 92801
       richardlemusattorney@gmail.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      13    No
            Yes. Fili in the details.
       Person Who Was Paid                                         Description and value of any property                    Date payment             Amount of
       Address                                                     transferred                                              or transfer was           payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement
    EJ No
         Yes. Fill in the details.
     Person Who Received Transfer                          Description and value of               Describe any property or           Date transfer was
      Address                                              property transferred                   payments received or debts         made
                                                                                                  paid in exchange
     Person’s relationship to you
19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
      El    No
            Yes. Fill in the details.
       Name of trust                                               Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made



 Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4

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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                         Case number (if mown}



Part 8:     List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
    (3 No
         Yes. Fill in the details.
     Name of Financial Institution and            Last 4 digits of       Type of account or       Date account was               Last balance
     Address (Numbar, street, city, stat® ana zip account number         instrument               closed, sold,              before closing or
     code)                                                                                        moved, or                            transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

     13  No
         Yes. Fill in the details.
      Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
      Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                    State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     E     No
           Yes. Fill in the details.
      Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
      Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                    Address (Number, Street, City,
                                                                    State and ZIP Code}

 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

     El     No
            Yes. Fill tn the details.
       Owner's Name                                                 Where is the property?                  Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)


 Part 10: Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

SI Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
   toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
   regulations controlling the cleanup of these substances, wastes, or material.
13 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
   to own, operate, or utilize it, including disposal sites.
13 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
   hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      13    No
            Yes. Fill in the details.
       Name of site                                                 Governmental unit                           Environmental law. if you   Date of notice
       Address {Number. Street, City, State and ZIP Code)           Address (Number, Street. City, State and    know it
                                                                    ZIP Code)




 Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5

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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                                Case number w /mown)



25. Have you notified any governmental unit of any release of hazardous material?

     S      No
            Yes. Fill in the details.
      Name of site                                                     Governmental unit                             Environmental law, if you         Date of notice
      AdtfresS (Number, Street, City, Stale and ZIP Coda)              Address {Number, Street. City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     I3     No
            Yes. Fill in the details.
      Case Title                    !                                  Court or agency                            Nature of the case                   Status of the
      Case Number                   !                                  Name                                                                            case
                                                                       Address (Number. Street, City,
                                                                       State and ZIP Code)

 Part 11: Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            O A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
            O A partner in a partnership
                An officer, director, or managing executive of a corporation
                 An owner of at Ipast 5% of the voting or equity securities of a corporation
      S    No. None of the above applies. Go to Part 12.
           Yes. Check ail that apply above and fill in the details below for each business.
       Business Name                                 Describe the nature of the business                               Employer Identification number
       Address                                                                                                         Do not Include Social Security number or ITIN.
       (Number, street,       state and zip
                        city,               coda)    Name of accountant or bookkeeper
                                                                                                                       Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      B     No
          Yes. Fil! in the details below.
       Name                                                        Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of
are true and correct. I understand that raking a
with a bankruptcy case can result irifirss ip to
                                                           Financial
                                                               "


                                                                                  —
                                                                     Affairs and any attachments, and I declare under penalty of perjury that the answers
                                                                    50,000, or imprisonment for up to 20 years, or both.
                                                                                                                                              = connection
                                                               ‘Ise ^statement, concealing property, or obtaining money or property by fraud in  >—


18 U.S.C. §§ 152, 1341, 1519, and 35|1.|       '

 /s/ MARTIN A. ROMERO, Jr,
 MARTIN ANDRES ROMERO, Jr.                                                  Signature of Debtor 2
 Signature of Debtor 1

 Date       October 5, 2023                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
63 No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
63 No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



 Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6

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Fill in this information to identify your case:

Debtor 1                  MARTIN ANDRES ROMERO, Jr.
                          First Name                       Middle Name              Last Nams
Debtor 2
(Spouse if, filing)       First Name                       Middle Name              Last Name


United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)            —                                                                                                              Check if this is an
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 1                                                                                        12/15

If you are an individual filing under chapter 7, you must fill out this form if:
® creditors have claims secured by your property, or
SI you have leased personal property and the lease has not expired.
You must File this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
          whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
          on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
          sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1 . For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is cqHateral             What do you intend to do with the property that       Did you claim the property
                                                             ’           secures a debt?                 "
                                                                                                                               as exempt on Schedule C?


    Creditor's        A-L FINANCIAL                                         Surrender the property.                                 No
    name:                                                                    Retain the property and redeem it.
                                                                         RI Retain the property and enter into a               S Yes
    Description of      2018 Volkswagen Passat 65000                        Reaffirmation Agreement.
     property           miles                                               Retain the property and {explain):
     securing debt:

 Mart 2;- List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                          Wil) the lease be assumed?


 Lessor's name:                                                                                                                No
 Description of leased
 Property;                                                                                                                     Yes

 Lessor’s name:                                                                                                                No
 Description of leased
 Property:                                                                                                                 O   Yes


 Lessor's name:                                                                                                                NO
 Description of leased
 Property;                                                                                                                     Yes


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 1

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Debtor 1 MARTIN ANDRES ROMERO, Jr.                                                                 Case number (»»nown)



Lessor's name:                                                                                                            No
Description of leased
Property:                                                                                                                 Yes

Lessor's name;                                                                                                            No
Description of leased
Property:                                                                                                                 Yes

Lessor's name:                                                                                                            No
Description of leased
Property:                                                                                                                 Yes

Lessor's name:                                                                                                            No
Description of leased
Property:                                                                                                                 Yes

Part 3       Sign Below

Under penalty of perjury, I declare that I vi i idfcat^d myj intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired l^sp.

X     fe/ MARTIN A. ROMERO, Jr.                                                   X
      MARTIN ANDRES ROMERO, Jr.                                                       Signature of Debtor 2
      Signature of Debtor 1

      Date          October 5, 2023                                               Date




 Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                       page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:            Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
      You are an individual filing for bankruptcy,
      and                                                                                         $78       administrative fee

       Your debts are primarily consumer debts.                                           +        $15      trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      totai fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
                                                                                          be enforced after discharge. For example, a creditor
                       -
       Chapter 7 Liquidation
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

                           -
       Chapter 12 Voluntary repayment plan
                  for family farmers or
                                                                                          However, if the court finds that you have committed
                                                                                          certain kinds of improper conduct described in the
                           fishermen                                                      Bankruptcy Code, the court may deny your
                                                                                          discharge.
                           -
       Chapter 13 Voluntary repayment plan
                                                                                          You should know that even if you file chapter 7 and
                  for individuals with regular
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. J 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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      most fines, penalties, forfeitures, and criminal                                your income is more than the median income for your
      restitution obligations; and                                                    state of residence and family size, depending on the
                                                                                      results of the Means Test, the U.S. trustee, bankruptcy
      certain debts that are not listed in your bankruptcy                            administrator, or creditors can file a motion to dismiss
      papers.                                                                         your case under § 707(b) of the Bankruptcy Code. If a
                                                                                      motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                   be dismissed. To avoid dismissal, you may choose to
                                                                                      proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                Code.

       fraud or defalcation while acting in breach of                                 If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                            the trustee may sell your property to pay your debts,
                                                                                      subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                   of the proceeds from the sale of the property. The
                                                                                      property, and the proceeds from property that your
       death or personal injury caused by operating a                                 bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                           entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                         enable you to keep your home, a car, clothing, and
                                                                                      household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                 the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                    Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                     you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A-1) if you are an                                   as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                   proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                               Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A-2).
                                                                                                      $1,167      filing fee
If your income is above the median for your state, you
                                   —
must file a second form the Chapter 7 Means Test                                             +          $571      administrative fee
Calculation (Official Form 122A-2). The calculations on                                               $1,738      total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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      Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a resuit of filing for bankruptcy
           and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. if you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
                   farmers or fishermen                                                   you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                  $200          filing fee                                                years or 5 years, depending on your income and other
+                  $78          administrative fee                                        factors.
                  $278          total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                  $235          filing fee                                                       debts for fraud or defalcation while acting in a
+                  $78          administrative fee                                               fiduciary capacity,
                  $313          total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                     certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 3

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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms oh Time                                                       —
                                                                                          together called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(aX1) of the Bankruptcy Code,.requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules,.and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruDtcv-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       if you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty of
                 —
       perjury either orally or in writing in connection—                                 In addition, after filing a bankruptcy case, you generally
                                                                                          must complete a financial management instructional
       with a bankruptcy case, you may be fined,
       imprisoned, or both.                                                               course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
     . bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http.7/www.uscourts.qov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.qov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counselinq-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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B2030 (Form 2030) (12/15)
                                                            United States Bankruptcy Court
                                                                    Central District of California
 In re      MARTIN ANDRES ROMERO, Jr.                                                                         Case No,
                                                                                 Debtor(s)                    Chapter      7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
l.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
      paid to me wi thin one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
      behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                         .                        $                    1 ,500.00
             Prior to the filing of this statement I have received                                        S                    1,500.00
             Balance Due                                                                                  $                        0,00

2.    The source of the compensation paid to me was:
             El Debtor                  Other (specify):

3.    The source of compensation to be paid to me is:
             S Debtor                   Other (specify):

4.       El I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
            1 have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         b. [Other provisions as needed]


6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representajj n of the debtor(s) in this
 bankruptcy proceeding.

      October 5, 2023                                                            /s/ Richard Lemus
     Date                                                                        Richard Lemus
                                                                                 Signature ofAttornev
                                                                                 LAW OFFICES OF RICHARD F LEMUS
                                                                                 1501 N Raymond Avenue Suite A
                                                                                 Anaheim, CA 92801
                                                                                 (714)441-0440 Fax:(714)855-1313
                                                                                 rlemusatty@netzero.com
                                                                                 Name of law firm




                                              -
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Fill in this information to/ identify your case:                                                    Check one box only as directed in this form and in Form
                                                                                                    122A-1Supp:
Debtor 1
Debtor 2
(Spouse, if filing)
                      __________________________________
                      MARTIN ANDRES ROMERO, Jr.
                                                                                                       0 1. There is no presumption of abuse
                                                                                                          2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:          Central District of California                              applies will be made under Chapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
Case number                                                                                                  3. The Means Test does not apply now because of
(if known)                                                                                                      qualified military service but it could apply later.
                                                                                                              Check if this is an amended filing
Official Form122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(H (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
     S Not married. Fili out Column A, lines 2-11          .
       Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                 apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill inthe average monthly income that you received from all sources, derived during the a full months before you file this bankruptcy case. 11 U.S.C. § 101(10A).
    For example, If you ate fillrig on September IS, the 6-morith period would be MarcH through.August 31..If theamountof ybdrmphthly income varied during the 6 months,
    add the income for all,6,months arid 'dMde the total by 6( RII irt the result Do frat include any income amount more thah once. For example, if both spouses own the same
    rental property, put foe in<rany:frbm. that property ip one                                                                             :

                                                                                                         Column A                   ColumnB
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               S                            3,975,00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             S                                 0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support, include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           S                                 0.00      $                    .
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
     Gross receipts (before all deductions)                   $     0.00
        Ordinary and necessary operating expenses                       -$        0.00
         Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                     0.00      $
   6. Net income from rental and other real property
                                                                                   Debtor 1
         Gross receipts (before all deductions)                          $        0.00
         Ordinary and necessary operating expenses                      4         0.00
         Net monthly income from rental or other real property          $         0.00 Copy here         S                0.00      $
                                                                                                          S               0-00      $
   7. Interest, dividends, and royalties




 Official Form 122A-1                                   Chapter 7 Statement of Your Current Monthly income                                                         page 1
                                             -
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            MARTIN ANDRES ROMERO, Jr.                                                            Case number {if known)



                                                                                                Column A                  Column B
                                                                                                Debtor 1                  Debtor 2 or
                                                                                                                          non-filing spouse
8. Unemployment compensation                                                                    s                0.00     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act Instead, list it here:
          For you                                                ,s                  0.00
       For your spouse                                     .$
9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act. Also, except as stated in the next sentence, do
    not include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related Injury or disability,
    or death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired
    under any provision of title 10 other than chapter 61 of that title.                    $                    0.00     $
10. Income from all other sources not listed above. Specify the source and amount.
    Do not include any benefits received under the Social Security Act; payments received
    as a victim of a war crime, a crime against humanity, or international or domestic
    terrorism; or compensation pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability,
    or death of a member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below..
                                                                                            S                    0.00     $
                                                                                                $            .   0.00     $

                 Total amounts from separate pages, if any.                                 + $                  0.00     $

    .
 11 Calculate your total current monthly income. Add lines 2 through 10 for
    each column. Then add the total for Column A to the total for Column B.             $      3,975.00           $                     $      3,975.00
                                                                                                                                        Total currant monthly
                                                                                                                                        income
Part 2:        Determine Whether the Means Test Applies to You

 12. Calculate your current monthly Income for the year. Follow these steps:
        12a. Copy your total current monthly Income from line 11                                       .Copy line 11 here=>


             Multiply by 12 (the number of months in a year)
        12b. The result is your annual income for this part of the form

 13. Calculate the median family income that applies to you. Follow these steps:

        Fill in the state in which you live.                              CA

        Fill in the number of people in your household.
        Fill in the median family income for your state and size of household
        To find a list of applicable median income amounts, go online using the link specified in the separate instructions for
        this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a. 13 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                 Go to Part 3. Do NOT fill out or file Official Form 122A-2,
      14b.       Line 12b is more than line 13. On the toty®f page 1, check box 2, The presumption of abuse is determined by Form 122 A- 2.
                      Go to Part 3 and fill out Form 122A—2.
Part 3:         Sign Below
              By signing here, I declare under penalty                tl/e information on this statement and in any attachments is true and correct,
                                                                                 r
                                                                                 i

             X /s/ MARTIN A. ROMERO, Jr.
               MARTIN ANDRES ROMERO, Jr.
                 Signature of Debtor 1
         Date October 5, 2023
Official Form 122A-1                                  Chapter 7 Statement of Your Current Monthly Income                                               page 2
                                               -
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Debtor *5   MARTIN ANDRES ROMERO, Jr.                                                           Case number (if known]

               MM / DD / YYYY
            If you checked line 14a, do NOT fill out or file Form 122A-2.
            If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                     page 3
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Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Richard Lemus
1501 N Raymond Avenue Suite A
Anaheim, CA 92801
(714)441-0440 Fax:(714)855-1313
California State Bar Number: 183271 CA
rlemusatty@netzero.com




     Debtors) appearing without an attorney
     Attorney for Debtor

                                                  UNITED STATES BANKRUPTCY COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                CASE NO.:
           MARTIN ANDRES ROMERO, Jr.
                                                                                CHAPTER: 7



                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS
                                                                                                                  [LBR 10074(a)]

                                                             Debtors).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penaltyrjf perjui^hat the
master mailing list of creditors filed in this bankruptcy case, consisting of 4 sheets) is complete? cprrect/ancj consistent
with the Debtor’s schedules and l/we assume all responsibility for errors and omissions.         [     j     / /                       [
Date: October 5, 2023                                                                   /s/ MARTIN A. ROMERO, Jr.                  IIjj
                                                                                        Signature of Debtor 1                        VV
Date:
                                                                                        Signature of Debtor 2 (joint debtor) j (if applicable)

 Date: October 5, 2023                                                                  /s/ Richard Lemus
                                                                                        Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Centra! District of California.
December 2015                                                                                      F 1007-1.MAILING-LIST.VERIFICATION
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                           ACE CASH EXPRESS
                           300 E. JOHN CARPENTER FWX, SIE 900
                           Irving, TX 75062


                            A-L FINANCIAL
                            P.O. BOX 51466
                            Ontario, CA 91761


                            AMERICAN EXPRESS
                            ?O Box 981537
                            El Paso, TX 79998-1537

                            Capital One
                            PO Box 31293
                            Salt Lake City, UT 84131-0293

                            CAVALRY PORTFOLIO SERVICE
                            500 Summit Lake Dr
                            Valhalla, NY 10595-1340


                            Citibank NA
                            PC Box 12914
                            Norfolk, VA 23541-0914


                            CITY OF INDIO
                            100 CIVIC CENTER MALL
                            Indio, CA 92201

                            CUSTOMER RELATIONS SPEEDY CASH
                            PO BOX 782260
                            Wichita, KS 67278
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                            First Premier Bank
                            3820 N Louise Ave
                            Sioux Falls, SD 57107-0145

                            FLURISH INC
                            FLURISH, INC. 225 BUSH STREET
                            San Francisco, CA 94104


                            Genesis/FEB-Ketail
                            PO Box 4499
                            Beaverton, OR 97076-4499

                            GM FNANCIAL
                            PO BOX 181145
                            Arlington, TX 76096


                            JEFFERSON CAPITAL SYSTEMS
                            16 MCLELAND RD
                            ST CLOUD, MN 563032


                            LVNV FINDING LL’
                            55 BEATTIE PLACE .SC 29601
                            Greenville, SC 29601


                            LVNV FUNDING LLC
                            55 BEATTIE PLACE
                            Greenville, SC 29601


                            LVNV FUNDING, LLC
                            PO Box 10497
                            Greenville, SC 29603-0497
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                           Merrick Bank Coro
                           10705 S Jordan Gtwy Ste 200
                           South Jordan, UT 84095-3977


                           Midland Credit Management Inc
                           350 Camino de la Reina Ste 100
                           San Diego, CA 92108-3003

                           MOHELA/DEPT OF ED
                           MOHELA/DEPT OF ED
                           Chesterfield, MO 63005

                           NELSON & KENNARD
                           5011 Dudley Blvd, BLDG 250, Bay G
                           McClellan, CA 95652


                           Net Pay Advance Inc.
                           6820 West Central
                           Wichita, KS 67212


                           Oliphant USA, LLC
                           1800 2nd St. Suite 603
                           Sarasota, FL 34236


                           PORTFOLIO RECOVERY
                           120 Corporate Blvd Ste 100
                           Norfolk, VA 23502-4952


                           PORTFOLIO RECOVERY ASSOCIATES
                           120 CORPORATE BLVD, STE 100
                           Norfolk, VA 23502
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                            RESURGENT ACQUISITIONS LLC
                            PO BOX 4477
                            Beaverton, OR 97076


                            Riverside County Superior Court
                            3255 E Tahquitz Canyon Way
                            Palm Springs, CA 92262-6958


                            Speedy Cash
                            PO BOX 535
                            Dublin, OH 43017


                            SPEEDY CASH
                            PO SOX 101928 DEPT 2280
                            Birmingharo, AL 35210


                            TBOM/ASPIRE
                            PO BOX 105555 SW 1340
                            At Lan— a, GA 31348


                            VALENTINE & KEBARTAS, LLC
                            PO BOX 325
                            Lawrence, MA 01842

                            VW CREDIT INC
                            2333 WAUKEEGAN RD .IL 60015
                            Deerfield, IL 60015


                            WEBBANK
                            215 S. State St. Suite 1000
                            Salt Lake City, UT 84111
